
965 So.2d 393 (2007)
STATE ex rel. Jimmy BURSE
v.
STATE of Louisiana.
No. 2007-KH-0136.
Supreme Court of Louisiana.
October 12, 2007.
In re Burse, Jimmy;  Plaintiff; Applying for Supervisory and/or Remedial *394 Writs, Parish of Jefferson, 24th Judicial District Court Div. P, No. 99-3274; to the Court of Appeal, Fifth Circuit, No. 06-KH-933.
Denied. La.C.Cr.P. art. 930.8; State ex rel. Glover v. State, 93-2330 (La.9/5/95), 660 So.2d 1189; State v. Parker, 98-0256 (La.5/8/98), 711 So.2d 694; La.C.Cr.P. art. 930.3; State ex rel. Melinie v. State, 93-1380 (La.1/12/96), 665 So.2d 1172.
